       Case 6:24-cv-00568-ADA-JCM Document 1 Filed 10/30/24 Page 1 of 17




                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS

                                        CASE NO.: 6:24-cv-568

AMERICAN HONDA MOTOR CO., INC.,

        Plaintiff,
v.

THE INDIVIDUALS, PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

        Defendants.
                                               /

                                             COMPLAINT

        Plaintiff, American Honda Motor Co., Inc. (“Honda”), by and through undersigned

counsel, hereby sues Defendants, The Individuals, Partnerships, and Unincorporated Associations

identified on Schedule “A” hereto (collectively, the “Defendants”), and alleges as follows:

                                     NATURE OF THE ACTION

        1.         Defendants are promoting, selling, reproducing, offering for sale, and distributing

goods using counterfeits and confusingly similar imitations of Plaintiff’s trademarks within this

district through various Internet based e-commerce stores and fully interactive commercial Internet

websites operating under the seller identification names set forth on Schedule “A” hereto (the

“Seller IDs”). 1

        2.         Like many other famous trademark owners, Plaintiff suffers ongoing daily and

sustained violations of their trademark rights at the hands of counterfeiters and infringers, such as

Defendants herein, who wrongfully reproduce and counterfeit Plaintiff’s trademarks for the twin



        1
            Plaintiff will be moving to file Schedule “A” under seal.
      Case 6:24-cv-00568-ADA-JCM Document 1 Filed 10/30/24 Page 2 of 17




purposes of (i) duping and confusing the consuming public and (ii) earning substantial profits. The

natural and intended byproduct of Defendants’ actions is the erosion and destruction of the

goodwill associated with Plaintiff’s trademarks, as well as the destruction of the legitimate market

sector in which they operate.

       3.      In order to combat the indivisible harm caused by the combined actions of

Defendants and others engaging in similar conduct, Plaintiff has expended significant amounts of

resources in connection with trademark enforcement efforts, including legal fees, investigative

fees, and support mechanisms for law enforcement. The exponential growth of counterfeiting over

the Internet, particularly through online marketplace platforms, has created an environment that

requires individuals, such as Plaintiff, to expend significant time and money across a wide

spectrum of efforts in order to protect both consumers and themselves from the negative effects of

confusion and the erosion of the goodwill connected to Plaintiff’s brand.

                                 JURISDICTION AND VENUE

       4.      This is an action seeking damages and injunctive relief for trademark counterfeiting

and infringement, false designation of origin under the Lanham Act, common law unfair

competition; common law trademark infringement pursuant to 15 U.S.C. §§ 1114, 1116, 1121,

1125(a), and 1125(d), and The All Writs Act, 28 U.S.C. § 1651(a); 15 U.S.C. § 1051 et seq.

       5.      This Court has subject matter jurisdiction pursuant to 15 U.S.C. §§ 1114 and

1125(a), 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338.

       6.      This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over the state law

claims, because the claims are so related to the trademark claims in this action, over which this

Court has original jurisdiction, that they form part of the same case or controversy under Article

III of the United States Constitution.



                                                 2
       Case 6:24-cv-00568-ADA-JCM Document 1 Filed 10/30/24 Page 3 of 17




          7.    Defendants are subject to personal jurisdiction in this District because they direct

business activities toward and conduct business with consumers throughout the United States,

including within the State of Texas and this District through at least the Internet based e-commerce

stores and fully interactive commercial Internet websites accessible in Texas and operating under

the Seller IDs. Upon information and belief, Defendants infringe Plaintiff’s trademarks in this

District by advertising, using, selling, promoting and distributing counterfeit trademark goods

through such Internet based e-commerce stores and fully interactive commercial Internet websites.

Also upon information and belief, Defendants are foreign residents purposefully availing

themselves of the United States to perpetuate their unlawful activity, and Defendants have not

consented to jurisdiction in another state, thus personal jurisdiction is also proper pursuant to Fed.

R. Civ. P. 4(k)(2).

          8.    Venue is proper in this District pursuant 28 U.S.C. § 1391 since Defendants are,

upon information and belief, aliens engaged in infringing activities and causing harm within this

District by advertising, offering to sell, selling and/or shipping infringing products into this

District. Defendants may be found in this District, as they are subject to personal jurisdiction

herein.

                                        THE PLAINTIFF

          9.    Plaintiff is a California corporation having its principal place of business in

Torrance, California.

          10.   Plaintiff has been granted the exclusive license to distribute goods and services in

the United States in connection with the standard character marks and related logos (collectively,

the “Honda Marks”), both registered and unregistered, of Honda Motor Co., Ltd. (“Honda Motor

Co.”). Honda has the right to sub-license those rights to dealers, distributors, and others, and the



                                                  3
       Case 6:24-cv-00568-ADA-JCM Document 1 Filed 10/30/24 Page 4 of 17




right to sue for violation of Honda Motor Co.’s rights. Honda is also the exclusive distributor in

the United States for goods manufactured by Honda Motor Co.

        11.      Honda is a North American subsidiary of Honda Motor Co. that combines product

sales, service and coordinating functions of Honda in North America, and is responsible for

distribution, marketing and sales of Honda brand automobiles, Honda power sports products,

Honda power equipment products, small displacement general-purpose engines, and marine

outboard engines.

        12.      Honda Motor Co. has been the world’s largest motorcycle manufacturer since

1959, reaching a production of 400 million by the end of 2019. It is also the world’s largest

manufacturer of internal combustion engines measured by volume, producing more than 14

million internal combustion engines each year.

        13.      Honda Motor Co. became the second-largest Japanese automobile manufacturer in

2001, and by 2023, Honda Motor Co. was the seventh largest automobile manufacturer in the

world. Honda Motor Co. was the first Japanese automobile manufacturer to release a dedicated

luxury brand, Acura, in 1986. Aside from its core automobile and motorcycle businesses, Honda

Motor Co. also manufactures garden equipment, marine engines, personal watercraft, power

generators, and other products. Honda Motor Co. has also ventured into aerospace with the

establishment of GE Honda Aero Engines in 2004 and the Honda HA-420 HondaJet, which began

production in 2012.

        14.      High-quality products under Honda’s registered and unregistered trademarks are

designed, manufactured, marketed, and distributed in interstate commerce, including within this

judicial district.




                                                 4
       Case 6:24-cv-00568-ADA-JCM Document 1 Filed 10/30/24 Page 5 of 17




                                        THE DEFENDANTS

        15.       Defendants are individuals and/or business entities of unknown makeup, each of

whom, upon information and belief, either reside and/or operate in foreign jurisdictions, or

redistribute products from the same or similar sources in those locations and/or ship their goods

from the same or similar sources in those locations to shipping and fulfillment centers within the

United States to redistribute their products from those locations. Defendants have the capacity to

be sued pursuant to Federal Rule of Civil Procedure 17(b). Defendants target their business

activities towards consumers throughout the United States, including within this district through

the operation of Internet based e-commerce stores via Internet marketplace websites under the

Seller IDs.

        16.       Defendants are the past and present controlling forces behind the sale of products

under counterfeits and infringements of Plaintiff’s trademarks as described herein using at least

the Seller IDs.

        17.       Upon information and belief, Defendants directly engage in unfair competition by

advertising, offering for sale, and selling goods bearing one or more of Plaintiff’s trademarks to

consumers within the United States and this District through Internet based e-commerce stores

using, at least, the Seller IDs and additional seller identification aliases and domain names not yet

known to Plaintiff. Defendants have purposefully directed some portion of their illegal activities

towards consumers in the State of Texas through the advertisement, offer to sell, sale, and/or

shipment of counterfeit and infringing goods into the State.

        18.       Defendants have registered, established or purchased, and maintained their Seller

IDs. Upon information and belief, Defendants may have engaged in fraudulent conduct with

respect to the registration of the Seller IDs.



                                                  5
       Case 6:24-cv-00568-ADA-JCM Document 1 Filed 10/30/24 Page 6 of 17




        19.     Upon information and belief, some Defendants have registered and/or maintained

their Seller IDs for the sole purpose of engaging in illegal counterfeiting activities.

        20.     Upon information and belief, Defendants will continue to register or acquire new

seller identification aliases and domain names for the purpose of selling and offering for sale goods

bearing counterfeit and confusingly similar imitations of one or more of Plaintiff’s trademarks

unless preliminarily and permanently enjoined.

        21.     Defendants use their Internet-based businesses in order to infringe the intellectual

property rights of Plaintiff.

        22.     Defendants’ business names, i.e., the Seller IDs, associated payment accounts, and

any other alias seller identification names used in connection with the sale of counterfeit and

infringing goods bearing one or more of Plaintiff’s trademarks are essential components of

Defendants’ online activities and are one of the means by which Defendants further their

counterfeiting and infringement scheme and cause harm to Plaintiff. Moreover, Defendants are

using Plaintiff’s famous trademarks to drive Internet consumer traffic to their e-commerce stores

operating under the Seller IDs, thereby increasing the value of the Seller IDs and decreasing the

size and value of Plaintiff’s legitimate marketplace and intellectual property rights at Plaintiff’s

expense.

                            GENERAL FACTUAL ALLEGATIONS

                                Plaintiff’s Intellectual Property Rights

        23.     Plaintiff is the owner of the trademark registrations identified on Exhibit 1 attached

hereto, which are valid and registered on the Principal Register of the United States Patent and

Trademark Office, and pending applications for trademark registration on the Principal Register

(i.e., the Honda Marks):



                                                   6
      Case 6:24-cv-00568-ADA-JCM Document 1 Filed 10/30/24 Page 7 of 17




       24.     The Honda Marks are used in connection with the design, manufacturing,

marketing, and distribution of high-quality goods in at least the categories identified above.

       25.     Long before Defendants began their infringing activities complained of herein, the

Honda Marks had been used by Plaintiff in interstate commerce to identify and distinguish

Plaintiff’s products and merchandise for an extended period.

       26.     The Honda Marks are well-known and famous and have been for many years.

Plaintiff has expended substantial time, money, and other resources developing, enforced, and

otherwise promoting the Honda Marks and products bearing the Honda Marks. The Honda Marks

qualify as famous marks as that term is used in 15 U.S.C. §1125(c)(1).

       27.     Plaintiff has extensively used, enforced, and promoted the Honda Marks in the

United States in association with their merchandise.

       28.     As a result of Plaintiff’s efforts, members of the consuming public readily identify

products and merchandise bearing or sold under the Honda Marks as being high quality goods

sponsored and approved by Plaintiff.

       29.     The Honda Marks serve as a symbol of Plaintiff’s quality, reputation, and goodwill

and have never been abandoned.

                      Defendants’ Counterfeiting and Infringing Conduct

       30.     Upon information and belief, Defendants are promoting and advertising,

distributing, selling, and/or offering for sale counterfeit and infringing goods in interstate

commerce using exact copies and confusingly similar copies of the Honda Marks through at least

the Internet based e-commerce stores operating under the Seller IDs (collectively, the “Counterfeit

Goods”). Plaintiff has used the Honda Marks extensively and continuously before Defendants

began offering counterfeit and confusingly similar imitations of Plaintiff’s merchandise.



                                                 7
       Case 6:24-cv-00568-ADA-JCM Document 1 Filed 10/30/24 Page 8 of 17




       31.     Upon information and belief, Defendants’ Counterfeit Goods are of a quality

substantially and materially different than that of Plaintiff’s genuine goods. Defendants, upon

information and belief, are actively using, promoting and otherwise advertising, distributing,

selling and/or offering for sale substantial quantities of their Counterfeit Goods with the knowledge

and intent that such goods will be mistaken for the genuine high quality goods offered for sale by

Plaintiff under the Honda Marks despite Defendants’ knowledge that they are without authority to

use the Honda Marks. The effect of Defendants’ actions will cause confusion of consumers, at the

time of initial interest, sale, and in the post-sale setting, who will believe Defendants’ Counterfeit

Goods are genuine goods originating from, associated with, or approved by Plaintiff.

       32.     Defendants advertise their Counterfeit Goods for sale to the consuming public via

e-commerce stores on Internet marketplace websites using at least the Seller IDs. In so advertising

these goods, Defendants improperly and unlawfully use the Honda Marks without Plaintiff’s

permission.

       33.     As part of their overall infringement and counterfeiting scheme, Defendants are,

upon information and belief, employing and benefitting from substantially similar, advertising and

marketing strategies based, in large measure, upon an illegal use of counterfeits and infringements

of the Honda Marks. Specifically, Defendants are using counterfeits and infringements of

Plaintiff’s famous Honda Marks in order to make their e-commerce stores and websites selling

illegal goods appear more relevant, authentic, and attractive to consumers searching for Plaintiff’s

related goods and information online. By their actions, Defendants are contributing to the creation

and maintenance of an illegal marketplace operating in parallel to the legitimate marketplace for

Plaintiff’s genuine goods. Defendants are causing individual, concurrent and indivisible harm to

Plaintiff and the consuming public by (i) depriving Plaintiff and other third parties of their right to



                                                  8
      Case 6:24-cv-00568-ADA-JCM Document 1 Filed 10/30/24 Page 9 of 17




fairly compete for space within search engine results and reducing the visibility of Plaintiff’s

genuine goods on the World Wide Web, (ii) causing an overall degradation of the goodwill

associated with the Honda Marks, and/or (iii) increasing Plaintiff’s overall cost to market the

Honda Marks and educate consumers about their brand via the Internet.

       34.       Upon information and belief, Defendants are concurrently targeting their

counterfeiting and infringing activities toward consumers and causing harm within this District

and elsewhere throughout the United States. As a result, Defendants are defrauding Plaintiff and

the consuming public for Defendants’ own benefit.

       35.       Upon information and belief, at all times relevant hereto, Defendants in this action

had full knowledge of Plaintiff’s ownership of the Honda Marks, including their exclusive right to

use and license such intellectual property and the goodwill associated therewith.

       36.       Defendants’ use of the Honda Marks, including the promotion and advertisement,

distribution, sale and offering for sale of their Counterfeit Goods, is without Plaintiff’s consent or

authorization.

       37.       Defendants are engaging in the above-described illegal counterfeiting and

infringing activities knowingly and intentionally or with reckless disregard or willful blindness to

Plaintiff’s rights for the purpose of trading on Plaintiff’s goodwill and reputation. If Defendants’

intentional counterfeiting and infringing activities are not preliminarily and permanently enjoined

by this Court, Plaintiff and the consuming public will continue to be harmed.

       38.       Defendants’ above identified infringing activities are likely to cause confusion,

deception, and mistake in the minds of consumers before, during and after the time of purchase.

Moreover, Defendants’ wrongful conduct is likely to create a false impression and deceive




                                                  9
      Case 6:24-cv-00568-ADA-JCM Document 1 Filed 10/30/24 Page 10 of 17




customers, the public, and the trade into believing there is a connection or association between

Plaintiff’s genuine goods and Defendants’ Counterfeit Goods, which there is not.

       39.     Upon information and belief, Defendants’ payment and financial accounts are

being used by Defendants to accept, receive, and deposit profits from Defendants’ trademark

counterfeiting and infringing and unfairly competitive activities connected to their Seller IDs and

any other alias seller identification names being used and/or controlled by them.

       40.     Further, upon information and belief, Defendants are likely to transfer or conceal

their assets to avoid payment of any monetary judgment awarded to Plaintiff.

       41.     Plaintiff has no adequate remedy at law.

       42.     Plaintiff is suffering irreparable injury and have suffered substantial damages as a

result of Defendants’ unauthorized and wrongful use of the Honda Marks.

       43.     The harm and damages sustained by Plaintiff have been directly and proximately

caused by Defendants’ wrongful use, advertisement, promotion, offers to sell, and sale of their

Counterfeit Goods.

        COUNT I -- TRADEMARK COUNTERFEITING AND INFRINGEMENT
           PURSUANT TO § 32 OF THE LANHAM ACT (15 U.S.C. § 1114)

       44.     Plaintiff hereby adopts and re-alleges the allegations set forth in paragraphs 1

through 43 as though fully set forth herein.

       45.     This is an action for trademark counterfeiting and infringement against Defendants

based on their use of counterfeit and confusingly similar imitations of the Honda Marks in

commerce in connection with the promotion, advertisement, distribution, offering for sale, and

sale of the Counterfeit Goods.

       46.     Defendants are promoting and otherwise advertising, selling, offering for sale, and

distributing goods, using counterfeits and/or infringements of the Honda Marks. Defendants are

                                                10
      Case 6:24-cv-00568-ADA-JCM Document 1 Filed 10/30/24 Page 11 of 17




continuously infringing and inducing others to infringe the Honda Marks by using one or more of

them to advertise, promote, offer to sell, and/or sell at least counterfeit and infringing goods.

        47.     Defendants’ concurrent counterfeiting and infringing activities are likely to cause

and actually are causing confusion, mistake, and deception among members of the trade and the

general consuming public as to the origin and quality of Defendants’ Counterfeit Goods.

        48.     Defendants’ unlawful actions have individually and jointly caused and are

continuing to cause unquantifiable damage to Plaintiff and are unjustly enriching Defendants with

profits at Plaintiff’s expense.

        49.     Defendants’ above-described illegal actions constitute counterfeiting and

infringement of the Honda Marks in violation of Plaintiff’s rights under § 32 of the Lanham Act,

15 U.S.C. § 1114.

        50.     Plaintiff has suffered and will continue to suffer irreparable injury and damages due

to Defendants’ above described activities if Defendants are not preliminarily and permanently

enjoined. Additionally, Defendants will continue to wrongfully profit from their illegal activities.

                 COUNT II -- FALSE DESIGNATION OF ORIGIN
           PURSUANT TO § 43(A) OF THE LANHAM ACT (15 U.S.C. § 1125(a))

        51.     Plaintiff hereby adopts and re-alleges the allegations set forth in paragraphs 1

through 43 as though fully set forth herein.

        52.     Upon information and belief, Defendants’ Counterfeit Goods bearing, offered for

sale, and sold under copies of the Honda Marks have been widely advertised and offered for sale

throughout the United States via the Internet.

        53.     Defendants’ Counterfeit Goods bearing, offered for sale, and sold under copies of

the Honda Marks are virtually identical in appearance to Plaintiff’s genuine goods. However,

Defendants’ Counterfeit Goods are different in quality. Accordingly, Defendants’ activities are

                                                 11
      Case 6:24-cv-00568-ADA-JCM Document 1 Filed 10/30/24 Page 12 of 17




likely to cause confusion in the trade and among the general public as to at least the origin or

sponsorship of their Counterfeit Goods.

        54.     Defendants, upon information and belief, have used in connection with their

advertisement, offer for sale, and sale of their Counterfeit Goods, false designations of origin and

false descriptions and representations, including words or other symbols and trade dress, which

tend to falsely describe or represent such goods and have caused such goods to enter into commerce

with full knowledge of the falsity of such designations of origin and such descriptions and

representations, all to Plaintiff’s detriment.

        55.     Defendants have authorized infringing uses of the Honda Marks in Defendants’

advertisement and promotion of their counterfeit and infringing branded goods. Defendants have

misrepresented to members of the consuming public that the Counterfeit Goods being advertised

and sold by them are genuine, non-infringing goods.

        56.     Additionally, Defendants are using counterfeits and infringements of the Honda

Marks in order to unfairly compete with Plaintiff and others for space within search engine organic

results, thereby jointly depriving Plaintiff of a valuable marketing and educational tool which

would otherwise be available to Plaintiff and reducing the visibility of Plaintiff’s genuine goods

on the World Wide Web.

        57.     Defendants’ above-described actions are in violation of Section 43(a) of the

Lanham Act, 15 U.S.C. §1125(a).

        58.     Plaintiff has no adequate remedy at law and has sustained indivisible injury and

damage caused by Defendants’ concurrent conduct. Absent an entry of an injunction by this Court,

Defendants will continue to wrongfully reap profits and Plaintiff will continue to suffer irreparable

injury to its goodwill and business reputation, as well as monetary damages.



                                                 12
      Case 6:24-cv-00568-ADA-JCM Document 1 Filed 10/30/24 Page 13 of 17




                 COUNT III -- COMMON LAW UNFAIR COMPETITION

       59.      Plaintiff hereby adopts and re-alleges the allegations set forth in paragraphs 1

through 43 as though fully set forth herein.

       60.      This is an action against Defendants based on their promotion, advertisement,

distribution, sale, and/or offering for sale of goods using marks which are virtually identical, both

visually and phonetically, to the Honda Marks in violation of Texas’ common law of unfair

competition.

       61.      Specifically, Defendants are promoting and otherwise advertising, selling, offering

for sale and distributing goods bearing counterfeits and infringements of the Honda Marks.

Defendants are also using counterfeits and infringements of the Honda Marks to unfairly compete

with Plaintiff for (i) space in search engine results across an array of search terms and/or (ii)

visibility on the World Wide Web.

       62.      Defendants’ infringing activities are likely to cause and actually are causing

confusion, mistake and deception among members of the trade and the general consuming public

as to the origin and quality of Defendants’ products by their use of the Honda Marks.

       63.      Plaintiff has no adequate remedy at law and is suffering irreparable injury and

damages as a result of Defendants’ actions.

               COUNT IV - COMMON LAW TRADEMARK INFRINGEMENT

       64.      Plaintiff hereby adopts and re-alleges the allegations set forth in paragraphs 1

through 43 as though fully set forth herein.

       65.      This is an action for common law trademark infringement against Defendants based

on their promotion, advertisement, offering for sale, and sale of their Counterfeit Goods bearing

the Honda Marks. Plaintiff is the owner of all common law rights in and to the Honda Marks.



                                                 13
      Case 6:24-cv-00568-ADA-JCM Document 1 Filed 10/30/24 Page 14 of 17




         66.   Specifically, Defendants, upon information and belief, are promoting and otherwise

advertising, distributing, offering for sale, and selling goods bearing infringements of the Honda

Marks.

         67.   Defendants’ infringing activities are likely to cause and actually are causing

confusion, mistake, and deception among members of the trade and general consuming public as

to the origin and quality of Defendants’ Counterfeit Goods bearing the Honda Marks.

         68.   Plaintiff has no adequate remedy at law and is suffering damages and irreparable

injury as a result of Defendants’ actions.

                                    PRAYER FOR RELIEF

         WHEREFORE, Plaintiff demands judgment on all Counts of this Complaint and an award

of equitable relief and monetary relief against Defendants as follows:

         A.    Entry of temporary, preliminary, and permanent injunctions pursuant to 15 U.S.C.

§ 1116, 17 U.S.C. § 502(a), and Federal Rule of Civil Procedure 65 enjoining Defendants, their

agents, representatives, servants, employees, and all those acting in concert or participation

therewith, from manufacturing or causing to be manufactured, importing, advertising or

promoting, distributing, selling or offering to sell their Counterfeit Goods; from infringing,

counterfeiting, or diluting the Honda Marks; from using the Honda Marks, or any mark or design

similar thereto, in connection with the sale of any unauthorized goods; from using any logo, trade

name or trademark or design that may be calculated to falsely advertise the services or products of

Defendants as being sponsored by, authorized by, endorsed by, or in any way associated with

Plaintiff; from falsely representing themselves as being connected with Plaintiff, through

sponsorship or association, or engaging in any act that is likely to falsely cause members of the

trade and/or of the purchasing public to believe any goods or services of Defendants are in any



                                                14
      Case 6:24-cv-00568-ADA-JCM Document 1 Filed 10/30/24 Page 15 of 17




way endorsed by, approved by, and/or associated with Plaintiff; from using any counterfeit, copy,

or colorable imitation of the Honda Marks in connection with the publicity, promotion, sale, or

advertising of any goods sold by Defendants; from affixing, applying, annexing or using in

connection with the sale of any goods, a false description or representation, including words or

other symbols tending to falsely describe or represent Defendants’ goods as being those of

Plaintiff’s, or in any way endorsed by Plaintiff and from offering such goods in commerce; from

engaging in search engine optimization strategies using colorable imitations of Plaintiff’s Honda

Marks; and from otherwise unfairly competing with Plaintiff.

       B.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the

Court’s inherent authority, that, upon Plaintiff’s request, the applicable governing Internet

marketplace website operators and/or administrators for the Seller IDs who are provided with

notice of an injunction issued by the Court disable and/or cease facilitating access to the Seller

IDs, and any other alias seller identification names being used and/or controlled by Defendants to

engage in the business of marketing, offering to sell, and/or selling goods bearing counterfeits and

infringements of the Honda Marks.

       C.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the

Court’s inherent authority, that, upon Plaintiff’s request, any Internet marketplace website

operators and/or administrators for the Seller IDs who are provided with notice of an injunction

issued by the Court, identify any e-mail address known to be associated with Defendants’

respective Seller ID.

       D.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the

Court’s inherent authority that, upon Plaintiff’s request, any Internet marketplace website

operators and/or administrators who are provided with notice of an injunction issued by the Court



                                                15
      Case 6:24-cv-00568-ADA-JCM Document 1 Filed 10/30/24 Page 16 of 17




permanently remove any and all listings and associated images of goods bearing counterfeits

and/or infringements of the Honda Marks via the e-commerce stores operating under the Seller

IDs, and upon Plaintiff’s request, any other listings and images of goods bearing counterfeits

and/or infringements of the Honda Marks associated with and/or linked to the same sellers or

linked to any other alias seller identification names being used and/or controlled by Defendants to

promote, offer for sale and/or sell goods bearing counterfeits and/or infringements of the Honda

Marks.

         E.     Entry of an order requiring Defendants to account to and pay Plaintiff for all profits

and damages resulting from Defendants’ trademark counterfeiting and infringing and unfairly

competitive activities and that the award to Plaintiff be trebled, as provided for under 15 U.S.C.

§1117, or, at Plaintiff’s election with respect to Count I, that Plaintiff be awarded statutory

damages from each Defendant in the amount of two million US dollars ($2,000,000.00) per each

counterfeit trademark used and product type sold, as provided by 15 U.S.C. §1117(c)(2) of the

Lanham Act.

         F.     Entry of an order that, upon Plaintiff’s request, Defendants and any financial

institutions, payment processors, banks, escrow services, money transmitters, or marketplace

platforms, and their related companies and affiliates, identify and restrain all funds, up to and

including the total amount of judgment, in all financial accounts and/or sub-accounts used in

connection with the Seller IDs or other alias seller identification or e-commerce store names,

domain names and/or websites used by Defendants presently or in the future, as well as any other

related accounts of the same customer(s) and any other accounts which transfer funds into the same

financial institution account(s), to be surrendered to Plaintiff in partial satisfaction of the monetary

judgment entered herein.



                                                  16
       Case 6:24-cv-00568-ADA-JCM Document 1 Filed 10/30/24 Page 17 of 17




        G.     Entry of an award pursuant to 15 U.S.C. § 1117 (a) and (b) of Plaintiff’s costs and

reasonable attorneys’ fees and investigative fees associated with bringing this action.

        H.     Entry of an order requiring Defendants to pay prejudgment interest according to

law.

        I.     Entry of an order for such other and further relief as the Court may deem proper

and just.

Date: October 30, 2024                        Respectfully submitted by,

                                              A. Robert Weaver
                                              Arthur Robert Weaver (Fla. Bar No. 92132)
                                              Email: rweaver@brickellip.com
                                              THE BRICKELL IP GROUP, PLLC
                                              1101 Brickell Avenue, South Tower, Suite 800
                                              Miami FL, 33131
                                              Telephone: (305) 728-8831
                                              Attorneys for Plaintiff




                                                17
